     2:17-cv-10029-SJM-MKM        Doc # 19    Filed 05/18/17     Pg 1 of 1   Pg ID 75

                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

JEFFREY HORNER,

        Plaintiff,                              Case No. 2:17-cv-10029

v.                                              HONORABLE STEPHEN J. MURPHY, III

ORIONS MANAGEMENT GROUP, LLC,

        Defendant.
                                        /

                     ORDER OF DISMISSAL WITHOUT PREJUDICE

      This Court was notified on May 2, 2017, that the parties in the above captioned case

had reached a settlement agreement but would not be able to conclude the agreement and

file the necessary paperwork until July. Accordingly,

      IT IS HEREBY ORDERED that this case is dismissed without prejudice.

      IT IS FURTHER ORDERED that the parties submit to the Court an order dismissing

the case with prejudice based on the settlement agreement no later than July 21, 2017.

Either party may move to reopen this case to enforce the settlement reached on May 2,

2017 prior to the July 21, 2017 deadline.

     SO ORDERED.

                                  s/Stephen J. Murphy, III
                                  STEPHEN J. MURPHY, III
                                  United States District Judge
Dated: May 18, 2017

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on May 18, 2017, by electronic and/or ordinary mail.

                                  s/David P. Parker
                                  Case Manager
